AO 442 (Rev. 11/11) Arrest Warrant

 

FILE
UNITED STATES DISTRICT COURT CHARLOTTE, NC
for the
JUN 4 2024

Western District of North Carolina

wees DISTRICT COURT
‘ . RN DISTRICT OF ne
United States of America ICT OF fic

 

 

v. ) ~
) CaseNo. 321M 136 DC ke
)
Fernando Luis COLON-SANTINI ,
)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Fernando Luis COLON-SANTINI ,

 

who is accused of an offense or violation based on the following document filed with the court:

CJ Indictment M Superseding Indictment © Information [2 Superseding Information Complaint
O Probation Violation Petition Ci Supervised Release Violation Petition © Violation Notice [1 Order of the Court

This offense is briefly described as follows: |
IW Use sys wre franc Signed: May 26, 2021

Daw

David C, Keesler hs

 

 

 

 

 

Date: 05/26/2021 United States Magistrate Judge

City and state: Charlotte, North Carolina Honorable David C. Keesler, U.S, Magistrate Judge
Printed name and title
Return
This warrant was received on (date) 05/26/21 , and the person was arrested on (date) 05/26/21
at (city and state) Gastonia, NC
fe
Date: 05/26/21 An

 

 

a Arresting officer’s signature

Kevin Stuesse, Task Force Officer
Printed name and title

 

 

 
